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STATE OF FLORIDA                                       CASE NO. 6:25-mj- 1031

COUNTY OF ORANGE


             AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

      I, Raquel Garcia Rios, being first duly sworn, hereby depose and state as

follows:

                INTRODUCTION AND AGENT BACKGROUND

      1.      I submit this affidavit in support of a criminal complaint against

Carolina AMESTY for two violations of 18 U.S.C. § 641 (theft of government

property).

      2.      I have been a Special Agent for approximately 15 years. I have been

employed with the U.S. Small Business Administration, Office of Inspector General

(SBA-OIG) since February 2024. Prior to my employment with SBA-OIG, I was a

Special Agent with the United States Department of Treasury, Internal Revenue

Service, Criminal Investigation (IRS-CI). My official duties as a Special Agent with

SBA-OIG include investigating violations of federal law related to the SBA’s

operations, programs, grants, and contracts. I have personally investigated and

assisted in investigations related to such violations of Title 18 of the United States

Code. I earned a bachelor’s degree in business with a concentration in accounting

and a master’s degree in business administration from Texas A&M International

University. In addition, I have received training at the Federal Law Enforcement

Training Center (FLETC) in Glynco, Georgia, where I learned how to investigate

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financial crimes as well as appropriate disclosure guidelines and the Federal Rules of

Evidence. I completed the Criminal Investigator Training Program at FLETC and

the IRS Special Agent Investigative Techniques program at the National Criminal

Investigation Training Academy (NCITA).

      3.     The facts in this affidavit are based on my personal knowledge and

information I learned from other sources, including law enforcement databases, third

party records, reports prepared by other law enforcement officers, and conversations

I have had with other law enforcement officers and witnesses involved in this

investigation.

      4.     Because I am submitting this affidavit for the limited purpose of

securing a criminal complaint, I have not included every fact that I know about this

investigation. Instead, I have set forth only those facts that I believe are necessary to

establish probable cause that AMESTY has violated 18 U.S.C. § 641.

                                 PROBABLE CAUSE

            Background on the EIDL Program and Application Process

      5.     The SBA is an executive-branch agency of the United States

government that provides support to entrepreneurs and small businesses. The

mission of the SBA is to maintain and strengthen the nation’s economy by enabling

the establishment and viability of small businesses and by assisting in the economic

recovery of communities after disasters. As part of this effort, the SBA enables and

provides for loans through banks, credit unions, and other lenders. These loans have

government-backed guarantees.
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      6.     In March 2020, the Coronavirus Aid, Relief, and Economic Security

Act, or the “CARES Act,” was enacted to provide immediate assistance to

individuals, families, and organizations affected by the COVID-19 emergency.

Among its various provisions, the CARES Act authorized the SBA to offer

Economic Injury Disaster Loan (EIDL) funding to business owners and non-profit

organizations negatively affected by the COVID-19 pandemic. To qualify, a business

or non-profit organization had to be in operation prior to February 1, 2020.

      7.     Using the SBA online portal, EIDL applicants submitted personal

information and information about the business or non-profit organization in support

of each EIDL application, and they did not have to submit supporting

documentation of any sort. The application included a jurat-like paragraph where the

applicant affirmed that the information submitted was true and correct under the

penalty of perjury and applicable criminal statutes.

      8.     The application process for an EIDL involved filling out assorted data

fields relating to the size of the affected business or non-profit entity, the ownership

of said entity, and other information such as the number of employees and, as

applicable, gross revenues, cost of goods sold, and non-profit cost of operation for the

12 months prior to the date of the disaster (January 31, 2020). This information

furnished by the applicant was then used by SBA application evaluation systems to

calculate the principal amount of money the applicant was eligible to receive in the

form of an EIDL.

      9.     In addition to applying for an EIDL, an applicant could request and
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then receive up to $10,000 in an EIDL Cash Advance Grant based on the number of

employees claimed. The EIDL Cash Advance Grant was disbursed in amounts of

$1,000 per claimed employee. Any EIDL Cash Advance Grant funding that was

received by an applicant based on the number of claimed employees did not need to

be repaid to the SBA if the loan application was ultimately denied by the SBA, or if

the applicant declined the EIDL that was offered by the SBA at a later date.

      10.    Pursuant to the provisions governing the EIDL program, loan proceeds

had to be used by that business on certain permissible expenses. The EIDL (working

capital) loans had to be used by the afflicted business to pay fixed debts, payroll,

accounts payable, and other bills that could have been paid had the COVID-19

disaster not occurred.

      11.    To evaluate EIDL applications, the SBA computer system used

automation and system programming to quickly conduct checks of each application

submitted by each applicant. The SBA computer system performed checks of the

applicant’s creditworthiness and evaluated other elements of data furnished by the

applicant to identify duplicative applications and indicators of fraudulent activity.

The SBA computer system also utilized the information furnished by the applicant—

including gross revenues in the 12-month period prior to the disaster, costs of goods

sold during that same timespan, and loss of rental income—to determine the dollar

amount of the loan offer that the applicant may be extended. If any aspect of the

application did not pass the automated evaluation within the SBA computer system,

the application’s progress was stopped, and an electronic notification was sent to the
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applicant regarding the potential cause for the application to be halted. The applicant

was then given the opportunity to engage with the SBA and request reconsideration

of the application.

             Overview of AMESTY’s and a Relative’s EIDL Applications

       12.    SBA-OIG has identified at least fifteen EIDL loan applications

associated with AMESTY and one of her relatives. AMESTY and her relative

received more than $500,000 in EIDL loans on behalf of eight entities, including

Dinocar Auto Sales LLC, Carolina Amesty Foundation, Central Christian

University Inc., Central Christian University Holding Corp., Central Christian

Academy Inc., Central Café LLC, Pollo Juan Restaurant LLC, and Jordd Group

LLC.

       13.    Information filed with the Florida Department of State regarding many

of these entities established AMESTY’s role and her relative’s role at the time of the

establishment of the entity and at the time of the EIDL application. Her role in these

various entities at the time of the submission of the EIDL applications included

Chairwoman, Trustee, Managing Member, Registered Agent, Director, Vice

President, and/or President.

       14.    A query of the telephone numbers listed on the applications revealed

that the registrants of these numbers are AMESTY, her relative, and associated

businesses. Subscriber records for IP addresses related to the submission of

applications also identified AMESTY and associated businesses. SBA records detail

communications with AMESTY concerning many of the loan applications,
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highlighting her involvement with the submission of those applications.

      15.     In 15 of the EIDL applications, the following representations were made

as to the gross revenues for the 12 months prior to the date of the disaster (January 31,

2020) and the number of employees (as of January 31, 2020):


Application      Name of           Owner            Gross         Number       Result
  Date           Applicant                         revenues         of
                                                                 employees
 3/31/2020        Central         AMESTY          $1,200,000         16        $10,000
                 Christian                                                    advance/
                 University,     Her relative
                    Inc.                                                      $150,000
                                                                                loan
 3/31/2020       Pollo Juan       AMESTY           $200,000          20        $10,000
                 Restaurant                                                   advance/
                   LLC           Her relative
                                                                               $52,500
                                                                                loan
 3/31/2020         Central        AMESTY           $300,000          15        $10,000
                  Christian                                                   advance/
                Academy Inc.
                                                                               $62,500
                                                                                loan
  6/1/2020      Central Café      AMESTY           $128,000          3         $3,000
                   LLC                                                        advance/
                                                                               $24,500
                                                                                loan
  6/1/2020        Central         AMESTY           $180,000          2         $15,000
                 Christian                                                    advance/
                 University
                  Holding                                                      $43,000
                   Corp.                                                        loan

 6/16/2020      Jordd Group       AMESTY           $135,000          3         $3,000
                    LLC                                                       advance/


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                                                                           $29,500
                                                                            loan
6/17/2020     Carolina        AMESTY            $175,000          3        $3,000
              Amesty                                                      advance/
             Foundation
                Inc.                                                       $84,500
                                                                            loan
6/22/2020     American       Her relative       $250,000          12        Failed
              Chaplains                                                    attempt
                Inc.
6/23/2020    Universidad      AMESTY            $435,000          15        Failed
              Cristiana                                                    attempt
             Central Inc.
6/25/2020    Dinocar Auto     AMESTY            $475,000          13       $37,500
              Sales LLC                                                     loan
6/25/2020     American        AMESTY            $185,000          12        Failed
              Chaplains                                                    attempt
                Inc.
 7/1/2020    Iglesia De       AMESTY            $568,000          12        Failed
                Dios                                                       attempt
             Misionera       Her relative
             Weston Inc.
 7/3/2020     Iglesia De      AMESTY            $435,000          11        Failed
                 Dios                                                      attempt
              Misionera
             Okeechobee,
                 Inc.
11/16/2020   Iglesia De       AMESTY            $568,000          12        Failed
                Dios                                                       attempt
             Misionera       Her relative
             Weston Inc.
1/11/2021     Eglise De       AMESTY            $550,000          11        Failed
                Dieu                                                       attempt
             Missionnaire
                 Inc.



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      16.    Based upon investigation conducted to date, the representations as to

the gross revenues for the 12 months prior to the date of the disaster (January 31,

2020) are incorrect on many of these applications. For some of the applications, the

entities at issue were not in existence for 12 months prior to the date of the disaster.

In situations like these, it is possible that applicants may have been advised by the

SBA to provide projected revenues. However, the subpoenaed bank records for many

of the entities for which AMESTY applied for EIDLs—including Carolina Amesty

Foundation Inc. and Dinocar Auto Sales LLC, discussed in greater detail below—

are inconsistent with a good faith representation that the entities would have earned

the forecasted revenues.

      17.    Indeed, investigators have been able to find little, to no, support for the

gross revenues represented in the EIDL applications for the designated time period.

Notably, several of the entities for which EIDL applications were submitted did not

even open the bank account provided on their EIDL application until after the

pandemic had started:

              Name of Business                      Date Bank Account Provided on
                                                   EIDL Application Was Established
  Central Cafe LLC                                5/24/2020
  Jordd Group LLC                                 4/9/2020
  Carolina Amesty Foundation Inc.                 6/16/2020 (established a day before
                                                  the date of the EIDL application)
  Universidad Cristiana Central Inc.              6/23/2020 (established on the same
                                                  date as the EIDL application)



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  Dinocar Auto Sales LLC                           6/25/2020 (established on the same
                                                   date as the EIDL application)
  American Chaplains Inc.                          6/22/2020 (established three days
                                                   before the date of the EIDL
                                                   application)
  Iglesia De Dios Misionera Okeechobee,            6/23/2020 (established near the date
  Inc.                                             of the EIDL application)
  Iglesia De Dios Misionera Weston Inc.            7/1/2020



      18.    As with the gross revenues reported on the EIDL applications in

paragraph 15 above, based upon investigation conducted to date, the representations

in many of the applications as to the number of employees (as of January 31, 2020)

are inflated. A report from the Office of Inspector General for the Small Business

Administration noted that the “EIDL application did not clearly define ‘employee,’”

and thus it was possible that some applicants “may have included independent

contractors, seasonal workers, or other individuals who do not meet the IRS

definition of ‘employee’” in their applications.

      19.    A detailed review of two of these applications submitted by

AMESTY—Dinocar Auto Sales LLC and Carolina Amesty Foundation Inc.—is

below. For each of these entities, AMESTY submitted false information on the

EIDL application and then received an EIDL. Additionally, for Carolina Amesty

Foundation, AMESTY received an EIDL advance. Records also reveal that

AMESTY used the funds for purposes other than the permissible uses under the

EIDL program discussed above.


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              EIDL Application for Carolina Amesty Foundation Inc.

      20.    On June 17, 2020, AMESTY submitted SBA EIDL application

#3305090052 in the name of Carolina Amesty Foundation Inc., a private non-profit

organization, through the SBA’s online portal.

      21.    The application listed AMESTY as the primary contact and CEO of the

entity with 100% ownership. AMESTY was the only contact included in the

application. The application included AMESTY’s correct social security number and

date of birth. A business email address using AMESTY’s name and AMESTY’s

registered phone number (407) 758-xxxx were provided as primary contact

information. Additionally, AMESTY’s residential address, according to Florida

Department of Motor Vehicle records at the time the application was submitted, was

used on the application.

      22.    The application stated that the non-profit organization opened on

December 26, 2019, and had 3 employees (as of January 31, 2020). The application

also stated that for the 12 months prior to the date of the disaster (January 31, 2020),

the gross revenues were $175,000, the cost of goods sold were $0.00, and the non-

profit/agricultural cost of operation was $0.00.

      23.    The application was approved, and SBA Loan #9662977907 was

awarded in the amount of $84,500. An EIDL advance of $3,000 was also awarded,

consistent with the representation that there were 3 employees.

      24.    The application stated that the pertinent bank account information was

a Bank of America (BOA) checking account in the name of Carolina Amesty
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Foundation Inc., which had an account number ending in 0089. A review of

subpoenaed bank records revealed that the BOA account ending in 0089 was opened

on June 16, 2020—the day before the submission of the EIDL application—and

AMESTY is the sole signatory on the account.

      25.    On June 20, 2020, a Loan Authorization and Agreement for SBA Loan

#9662977907 in the amount of $84,500 for Carolina Amesty Foundation Inc. was e-

signed by AMESTY. In so doing, AMESTY certified, among other things, that the

representations in the loan application were true and correct and that the proceeds

would be used for permissible purposes.

      26.    On June 22, 2020, the $3,000 EIDL advance was deposited into

AMESTY’s BOA account ending in 0089. The following day, $84,400 in EIDL

proceeds was deposited into AMESTY’s BOA account ending in 0089. This is the

total amount of the funded EIDL less $100, which the SBA charged applicants to

pay the Uniform Commercial Code (UCC) lien filing fees and a third-party UCC

handling charge to secure EIDLs of more than $25,000.

      27.    But the investigation to date has revealed no evidence to support the

gross revenue reported on the application: $145,000 for the 12-month period prior to

the date of the disaster (January 31, 2020). To the contrary, in response to a request

to the IRS as to whether Carolina Amesty Foundation Inc. filed a Form 1065, Form

1120, or a Form 940 in 2019, the IRS advised it had not. Likewise, in response to a

subpoena to a Certified Public Account (CPA) and tax preparer for AMESTY and

her relative, the CPA did not provide any tax returns for 2019. Moreover, the
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application stated that the non-profit did not even begin operations until December

26, 2019, consistent with the filing of Articles of Incorporation for the entity, and the

bank records, as discussed below, contain no evidence of the entity receiving any

revenue during the 12-month period prior to January 31, 2020, or any other period.

      28.    Likewise, investigators have been unable to find evidence to support the

number of employees listed on the application: 3 (as of January 31, 2020). The

Department of Florida Commerce (DFC) had no wage and earnings records for

Carolina Amesty Foundation for the quarter ending March 2020. Additionally, the

IRS did not receive a Form 941 for Carolina Amesty Foundation Inc. for the quarter

ending March 2020. A Form 941 is submitted on a quarterly basis by an employer to

report, among other things, the number of employees and wages paid to those

employees.

      29.    Records from BOA show that the Carolina Amesty Foundation Inc.

account ending in 0089 do not support the information on the application concerning

gross revenues and number of employees. To the contrary, the account was not

opened until June 16, 2020—well after the pandemic had started. Following the

opening deposit of $50, the next transactions on the account were the credits from

the SBA for the $3,000 EIDL advance and the $84,400 EIDL proceeds (the total

amount of the EIDL less the $100 the SBA had to pay to secure the loan). Thus,

there was no activity in the account prior to the receipt of the SBA loans—none

related to business expenses or revenues, and none related to paying employees.

      30.    A financial analyst with the Federal Bureau of Investigation (FBI)
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account. From June 2020 (when the account was opened) through December 2020,

the only funds that entered or left the bank account for Carolina Amesty Foundation

Inc. were the SBA funds other than the initial $50 opening deposit and $2,175 in

other deposits in November 2020—which is inconsistent with not only the gross

revenues reported on the EIDL application but also the monthly breakdown of gross

receipts reported on the EIDL application.

      32.    The FBI also analyzed how the EIDL funds were used from the

accounts listed in the chart above after being transferred from Carolina Amesty

Foundation Inc.’s BOA account ending in 0089. A review of the activity on JPMC

account ending in 1671 (an account for Central Christian University, Inc., another

entity associated with AMESTY and her relative) revealed that the $41,000 cashier’s

check drawn on BOA account ending in 0089 was deposited into the account on July

9, 2020, along with four other cashier’s checks drawn from other BOA accounts, for

a total deposit of $341,500. The deposited funds were then disbursed primarily via

transfers to JPMC accounting ending in 8828 (another account for Central Christian

University), Zelle payments to Pollo Juan Restaurant LLC (another entity associated

with AMESTY and her relative), payments to Black Business Investment Fund, and

payments on credit cards.

      33.    A review of the activity on BOA account ending in 1782 (an account for

Pollo Juan Restaurant LLC, with AMESTY and her relative as signatories) indicated

that the $25,600 in SBA funds transferred to that account were expended on

operational costs related to the restaurant.
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      34.    A review of the activity on BOA account ending in 3263 (an account for

AMESTY, with AMESTY as the sole signatory) showed that the $9,000 in SBA

funds that were transferred to that account were in turn transferred to BOA account

ending in 3250 (another account for AMESTY, with AMESTY as the sole signatory)

where the funds were expended on personal expenses. The SBA funds totaling

$4,250 transferred directly into BOA account ending in 3250 were also expended on

personal expenses of AMESTY.

      35.    Moreover, in February 2021, AMESTY applied for a Targeted EIDL

Advance for Carolina Amesty Foundation Inc. In support of this request for

additional EIDL funds, AMESTY provided a breakdown of monthly gross receipts

for December 2019 through January 2021 as follows: $45,000 (December 2019),

$30,000 (January 2020), $50,000 (February 2020), $20,000 (March 2020), $16,000

(April 2020), $4,000 (May 2020), $3,000 (June 2020), $2,000 (July and August 2020),

$5,000 (September 2020), $7,000 (October, November, and December 2020), and

$4,000 (January 2021). But again, the bank records do not support that there were

any revenues for Carolina Amesty Foundation during that timeframe.

                  EIDL Application for Dinocar Auto Sales LLC

      36.    On June 25, 2020, AMESTY submitted SBA EIDL application

#3306570456 in the name of Dinocar Auto Sales LLC, an automobile dealership,

through the SBA’s online portal.

      37.    The application listed AMESTY as the primary contact and owner of

the entity with 100% ownership. AMESTY was the only contact included in the
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application. The application included AMESTY’s correct social security number and

date of birth. A business email address using AMESTY’s name, different than the

one used for the Carolina Amesty Foundation, was provided, and AMESTY’s phone

number and address were the same as she listed on the Carolina Amesty Foundation

Inc. EIDL application. The business address was listed as xxxx Lake Breeze Dr.,

Orlando, FL 32808, and AMESTY’s phone number was listed as the business phone

number.

      38.    The application stated that the entity opened on November 20, 2019,

and had 13 employees (as of January 31, 2020). The application also stated that for

the 12 months prior to the date of the disaster (January 31, 2020), the gross revenues

were $475,000, the cost of goods sold were $380,000, and the rental property losses

were $55,000. Unlike for the Carolina Amesty Foundation EIDL application, this

application did not include a breakdown of gross receipts for any months in 2019,

2020, or 2021.

      39.    The application was approved on July 9, 2020, and SBA Loan

#1265098104 was awarded in the amount of $37,500.

      40.    The application stated that the pertinent bank account information was

Bank of America (BOA) checking account in the name of Dinocar Auto Sales LLC,

which had an account number ending in 5798. A review of subpoenaed bank records

revealed that the BOA account ending in 5798 was opened on June 20, 2020—five

days before the submission of the EIDL application—and AMESTY is the sole

signatory on the account.
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      41.    On July 9, 2020, a Loan Authorization and Agreement for SBA Loan

#1265098104 in the amount of $37,500 for Dinocar Auto Sales LLC was e-signed by

AMESTY. In so doing, AMESTY certified, among other things, that the

representations in the loan application were true and correct and that the proceeds

would be used for permissible purposes.

      42.    On July 13, 2020, $37,400 was deposited into AMESTY’s BOA

account ending 5798. This is the total amount of the funded EIDL less $100,

consistent with the $100 fee for the Carolina Amesty Foundation Inc. EIDL.

      43.    But the investigation to date has revealed no evidence to support the

gross revenue reported on the application: $475,000 for the 12-month period prior to

the date of the disaster (January 31, 2020). To the contrary, in response to a request

to the IRS as to whether Dinocar Auto Sales LLC filed a Form 1065, Form 1120, or

a Form 940 in 2019, the IRS advised it had not. Likewise, in response to a subpoena

to AMESTY’s CPA, the CPA did not provide any tax returns for 2019. Moreover,

the application stated that the entity did not even begin operations until November

20, 2019, consistent with the filing of Articles of Incorporation for the entity, and the

bank records do not contain support for the stated gross revenues as discussed below.

      44.    Likewise, investigators have been unable to find evidence to support the

number of employees listed on the application: 13 (as of January 31, 2020). The DFC

had no wage and earnings records for Dinocar Auto Sales LLC for the quarter

ending March 2020. Additionally, the IRS did not receive Forms 941 for the Dinocar

Auto Sales LLC for the quarter ending March 2020.
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      45.    As part of this investigation, FBI agents visited the business address

listed on the EIDL application, xxxx Lake Breeze Dr., Orlando, FL 32808, and

spoke with an employee of the construction business operating out of the location.

The employee stated she had worked out of that location for approximately four

years and that she was unfamiliar with Dinocar Auto Sales; however, she had seen

mail addressed to Dinocar.

      46.    In response to a subpoena to Dinocar Auto Sales LLC, business records

were provided for the years 2019 through 2022 that included incorporation records,

business financial records, employment records, and loan records. The 2019

incorporation records included the Articles of Incorporation for the entity and a letter

from the Florida Department of State certifying Dinocar Auto Sales LLC as a limited

liability company organized under the laws of the state filed on November 20,

2019—the same date of incorporation. Also included under the incorporation records

was an IRS notice dated December 10, 2019, with the assigned employer

identification number for the entity.

      47.    As to the business financial records provided, a few things are worth

noting. For starters, there were no records to indicate that Dinocar Auto Sales was

even licensed to operate as a car dealership. To the contrary, a search of public

records on the Florida Highway Safety and Motor Vehicles showed that Dinocar

Auto Sales LLC had not retained any license to operate as a car dealer. Among the

2019 business financial records provided were a Florida dealer registration form for

Fons Auto Sales Corp. and various invoices for purchases of vehicles by Fons Auto
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Sales Corp. Agents interviewed the owner of Fons Auto Sales Corp. who confirmed

that his dealer license had been used to purchase vehicles from auction for

AMESTY’s relative, but stated he did not recognize Dinocar Auto Sales LLC.

      48.    The only records provided as part of the 2019 business financial records

that referenced Dinocar Auto Sales LLC included one auto repair invoice and two

inventory lists. A letter of intent for rent and subsequent purchase of a property

listing AMESTY’s relative as the purchaser (with no mention of Dinocar Auto

Sales), dated December 11, 2019, was also provided—this letter was signed only by

the buyer and did not appear to be executed.

      49.    The 2019 employment records provided included the following: a copy

of a Learner’s License for another relative of AMESTY, a copy of a Driver’s License

for AMESTY’s relative, an employment application for E.Q.S., a copy of a Driver’s

License for E.Q.S, and an IRS Form W-9 (Request for Taxpayer Identification

Number and Certification) for E.Q.S. The employment application for E.Q.S. stated

that his desired position was P.E. Instructor and that the date he could start working

was September 30, 2019—Dinocar Auto Sales LLC opened in November 2019.

Furthermore, the position listed is not consistent with a car dealership business.

      50.    Records from BOA show that the activity in Dinocar Auto Sales LLC’s

account ending in 5798 does not support the information on the application

concerning gross revenues, cost of goods, rental properties, or number of employees.

To the contrary, the account was not opened until June 20, 2020—well after the

pandemic had started. Following the opening deposit of $100, the next transaction
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on the account was the credit from the SBA for the $37,400 EIDL proceeds (the total

amount of the EIDL less the $100 the SBA had to pay to secure the loan). Thus,

there was no activity in the account prior to the receipt of the SBA loan—none

related to business expenses or revenues, and none related to paying employees. The

2020 business financial records provided include the bank statements for BOA

account ending in 5798 for Dinocar Auto Sales LLC, which are consistent with the

subpoenaed BOA records showing the $100 deposit made on June 25, 2020,

followed by the SBA $37,400 EIDL proceeds, and no business-related revenue or

expenses. All funds were fully expended by August 28, 2020, and one deposit of $100

was made on September 2, 2020.

      51.    A financial analyst with the FBI analyzed the use of EIDL proceeds

after they were deposited into BOA account ending in 5798—again, none of which

appear to be spent on permissible expenses for Dinocar Auto Sales LLC under the

EIDL program. A chart memorializing the expenditure of the funds between July 30,

2020, and August 28, 2020, is below:




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deposit in September 2020—which is inconsistent with the gross revenues reported

on the EIDL application.

      53.    The FBI also analyzed how the funds were then used from the accounts

listed above after being transferred from Dinocar Auto Sales LLC’s BOA account

ending in 5798. A review of the activity on BOA account ending in 3250 (an account

for AMESTY, with AMESTY as the sole signatory) revealed that following the

receipt of the transfers for $16,000, the funds were expended on personal expenses,

including purchases at City Furniture and payments on credit cards.

      54.    A review of the activity on BOA account ending in 1782 (an account for

Pollo Juan Restaurant, LLC, with AMESTY and her relative as signatories) showed

that the $15,300 in SBA funds transferred to that account were expended on

operational costs related to the restaurant.

                                   CONCLUSION

      55.    Based on the foregoing, I submit that probable cause exists that on June

23, 2020 and July 13, 2020, AMESTY did knowingly and willfully embezzle, steal,

purloin, or convert to her own use EIDL proceeds in the amount of $84,500

(Carolina Amesty Foundation Inc.) and $37,500 (Dinocar Auto Sales LLC) with the




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